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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                               MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                          SECTION “H” (5)

THIS DOCUMENT RELATES TO
Antoinette Durden, Case No. 2:16-cv-16635


                         PLAINTIFF’S RESPONSE TO DEFENDANTS’
                           STATEMENT OF UNDISPUTED FACTS


       Pursuant to Local Rule 56.2, Plaintiff, Antoinette Durden, submits the following

Response to Defendants’ Statement of Facts in Support of their Motion for Summary Judgment:


       1. Admitted.

       2. Admitted.

       3. Admitted that Ms. Durden elected to undergo a double mastectomy.

       4. Admitted.

       5. Admitted that Dr. Jancich discussed temporary hair loss with Ms. Durden as an

          anticipated side effect of Taxotere use. However, Dr. Jancich did not warn Ms.

          Durden that Taxotere may cause her to develop permanent hair loss and had Ms.

          Durden been warned of such a potential side effect she would have declined treatment

          with Taxotere. Ex. A 21:5-22:9; 213:25-215:23, 273:19-275:11, 355:22-357:12.

       6. Admitted that Ms. Durden signed a consent form for the administration of Taxotere

          and Cytoxan that stated hair loss. However, the consent form did not state the hair

          loss would be permanent. Ex. D to Defendants Motion for Summary Judgment.



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   7. Admitted that Ms. Durden suffered permanent hair loss as a result of being

      administered Taxotere as part of her chemotherapy regime. However, Ms. Durden

      did not become aware that her permanent hair loss was caused by Taxotere until

      2016. Ex. A, 56:24-57:7; 358:15-366:25.

   8. Disputed. Although Ms. Durden has suffered from hair loss from September of 2012

      to present, her knowledge as to the cause and permanency of hair loss was not known

      until 2016. Ex. A, 56:24-57:7; 358:15-366:25.

   9. Disputed as Ms. Durden clearly testified that she did not know her permanent hair

      loss was caused by Taxotere until 2016.         Ex. A, 56:24-57:7; 358:15-366:25.

      Furthermore, Ms. Durden sought ought opinions from multiple physicians and tried

      various treatments to encourage hair regrowth and no one ever indicated to her that

      her hair loss may be permanent hair loss caused by her use of Taxotere. Ex. A

      288:18-290:9, 301:7-302:22.

   10. Admitted that Ms. Durden’s hair did not regrow as anticipated following

      chemotherapy. Disputed to the extent is is implied that Ms. Durden understood by

      September 2012 that her hair loss was permanent and had been induced by her use of

      Taxotere. Although Ms. Durden has suffered from hair loss from September of 2012

      to present, her knowledge as the the cause and permanency of hair loss was not

      known until 2016. Ex. A, 56:24-57:7; 358:15-366:25.

   11. Admitted that Ms. Durden’s hair did not regrow as anticipated following

      chemotherapy. Disputed to the extent is is implied that Ms. Durden understood by

      September 2012 that her hair loss was permanent and had been induced by her use of

      Taxotere. Although Ms. Durden has suffered from hair loss from September of 2012



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      to present, her knowledge as the the cause and permanency of hair loss was not

      known until 2016. Ex. A, 56:24-57:7; 358:15-366:25.

   12. Admitted that Ms. Durden was 61 in September of 2012. Disputed to the extent is is

      implied that Ms. Durden understood by September 2012 that her hair loss was

      permanent and had been induced by her use of Taxotere. Although Ms. Durden has

      suffered from hair loss from September of 2012 to present, her knowledge as the the

      cause and permanency of hair loss was not known until 2016. Ex. A, 56:24-57:7;

      358:15-366:25.

   13. Admitted that Ms. Durden sought advice on how to encourage her hair regrowth.

      Disputed to the extent that Ms. Durden knew that her hair loss was permanent or

      caused by Taxotere in 2013. In fact, Ms. Durden consulted four separate physicians,

      Dr. Jancich, Dr. Velu, Dr. Mermilliod, and Dr. Martin from the time period of 2012 to

      2017 without ever once being told that she may have been suffering from permanent

      hair loss induced by her use of Taxotere.

   14. Admitted that Ms. Durden sought advice on how to encourage her hair regrowth.

      Disputed to the extent that Ms. Durden knew that her hair loss was permanent or

      caused by Taxotere in 2013. In fact, Ms. Durden consulted four separate physicians,

      Dr. Jancich, Dr. Velu, Dr. Mermilliod, and Dr. Martin from the time period of 2012 to

      2017 without ever once being told that she may have been suffering from permanent

      hair loss induced by her use of Taxotere.

   15. Dispsuted. Although Ms. Durden has suffered from hair loss from September of

      2012 to present, her knowledge as to the cause and permanency of hair loss was not

      known until 2016. Ex. A, 56:24-57:7; 358:15-366:25.



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       16. Disputed. Although Ms. Durden has suffered from hair loss from September of 2012

           to present, her knowledge as to the cause and permanency of hair loss was not known

           until 2016. Ex. A, 56:24-57:7; 358:15-366:25. Although Ms. Durden tried various

           things to encourage hair regrowth, she was unaware in 2013 that her hair loss was

           permanent in nature.

       17. Disputed. Dr. Jancich did not become aware of the association between Taxotere and

           permanent hair loss until 2016. Ex. B, Jancich Dep. at 253:11-19, 263:10-13. As

           such, it would have been impossible for her to inform Ms. Durden in 2015 that her

           hair loss was permanent and was a result of her use of Taxotere.

       18. Admitted that upon learning that Taxotere can cause permanent hair loss in 2016, Ms.

           Durden promptly filed a claim within that same year.

Dated: June 11, 2019                          Respectfully submitted,


                                           /s/ Christopher L. Coffin
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on June 11, 2019, I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system which will send a notice of electronic filing to all counsel

of record who are CM/ECF participants.

                                              /s/ Christopher L. Coffin
                                              CHRISTOPHER L. COFFIN

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